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             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE:          THE HONORABLE GARY S. KATZMANN, JUDGE
                 THE HONORABLE TIMOTHY M. REIF, JUDGE
                 THE HONORABLE JANE A. RESTANI, JUDGE
__________________________________________
                                           )
V.O.S. SELECTIONS, INC., PLASTIC           )
SERVICES AND PRODUCTS, LLC d/b/a           )
GENOVA PIPE, MICROKITS, LLC,               )
FISHUSA INC., TERRY PRECISION              )
CYCLING LLC,                               )      Court No. 25-00066
                                           )
                 Plaintiffs,               )
                                           )
v.                                         )
                                           )
DONALD J. TRUMP in his official capacity,  )
EXECUTIVE OFFICE OF THE PRESIDENT,         )
THE UNITED STATES, U.S. CUSTOMS AND )
BORDER PROTECTION, PETE R. FLORES          )
in his official capacity, JAMIESON GREER   )
in his official capacity, OFFICE OF THE    )
UNITED STATES TRADE                        )
REPRESENTATIVE, and HOWARD                 )
LUTNICK in his official capacity,          )
                                           )
                 Defendants.               )
                                           )

                            DEFENDANTS’ NOTICE OF APPEAL

         Notice is hereby given that defendants appeal to the United States Court of Appeals for

the Federal Circuit from the Court’s opinion and final judgment of May 28, 2025. See ECF Nos.

55-56.


DATED: May 28, 2025                                  Respectfully submitted

OF COUNSEL:                                          YAAKOV M. ROTH
                                                     Acting Assistant Attorney General
ALEXANDER K. HAAS
Director                                             ERIC J. HAMILTON
                                                     Deputy Assistant Attorney General
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Assistant Director                     PATRICIA M. McCARTHY
U.S. Department of Justice             Director
Civil Division
Federal Programs Branch                /s/ Claudia Burke
                                       CLAUDIA BURKE
                                       Deputy Director

                                       /s/ Justin R. Miller
                                       JUSTIN R. MILLER
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                                       International Trade Field Office

                                       /s/ Sosun Bae
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 28, 2025, I caused the foregoing “NOTICE OF APPEAL”

to be filed and served electronically via the Court’s CM/ECF system.


                                       /s/Claudia Burke




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